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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA : CASE NO.: 22-CR-290 (APM)
v.
: VIOLATIONS:
KELLYE SORELLE, : 18 U.S.C. § 1752(a)(1)
: (Entering or Remaining in a Restricted
Defendant. : Building or Grounds)

18 U.S.C. § 1512(b)(2)(A)-(B)
(Obstruction of Justice—Tampering with
Evidence)

STATEMENT OF OFFENSE

Pursuant to Fed. R. Crim. P. 11, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, and the defendant, Kellye SoRelle, with
the concurrence of the defendant’s attorney, agree and stipulate to the below factual basis for the
defendant’s guilty plea—that is, if this case were to proceed to trial, the parties stipulate that the
United States could prove the below facts beyond a reasonable doubt:

The Attack at the U.S. Capitol on January 6, 2021

1. The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public. The grounds around the Capitol were posted and cordoned off, and the entire area as well

as the Capitol building itself were restricted as that term is used in Title 18, United States Code,

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Section 1752 due to the fact that the Vice President and the immediate family of the Vice President,
among others, would be visiting the Capitol complex that day.

3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol. During the joint session, elected members of the United States House of Representatives
and the United States Senate were meeting in separate chambers of the Capitol to certify the vote
count of the Electoral College of the 2020 Presidential Election, which had taken place on Tuesday,
November 3, 2020. The joint session began at approximately 1:00 PM. Shortly thereafter, by
approximately 1:30 PM, the House and Senate adjourned to separate chambers to resolve a
particular objection. Vice President Mike Pence was present and presiding, first in the joint session,
and then in the Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol
and the proceedings underway inside.

5. At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior fagade of the building. Officers with the D.C. Metropolitan Police
Department were called to assist officers of the USCP who were then engaged in the performance
of their official duties. The crowd was not lawfully authorized to enter or remain in the building
and, prior to entering the building, no members of the crowd submitted to security screenings or

weapons checks as required by USCP officers or other authorized security officials.

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6. At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more
than $2.9 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that
the building was secured. The proceedings resumed at approximately 8:00 PM after the building
had been secured. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

The Defendant’s Participation in the January 6, 2021, Capitol Riot

8. The Defendant, Kellye SoRelle, is a 45-year-old resident of Granbury, Texas, and

an affiliate of the Oath Keepers and the Oath Keepers’ founder and leader, Elmer Stewart Rhodes

III. SoRelle is an attorney who has previously worked as a prosecutor in Texas.

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9. The Oath Keepers are a large but loosely organized collection of individuals, some
of whom are associated with militias. The organization’s name alludes to the oath sworn by
members of the miliary and police to defend the Constitution “from all enemies, foreign and
domestic.”

10. | Within days of the 2020 presidential election, members and affiliates of the Oath
Keepers, led by Rhodes, began discussing the need to oppose the transfer of power from President
Donald J. Trump to President-Elect Joseph R. Biden, Jr., by any means necessary, up to and
including the use of force. For example, on November 5, 2020, Rhodes sent a message to an
encrypted Oath Keepers group chat called “Leadership intel sharing secured’’—which included
SoRelle—in which Rhodes stated, “We MUST refuse to accept Biden as a legitimate winner,”
and “We aren’t getting through this without a civil war. Too late for that. Prepare your mind,
body, spirit.”

11. Two days later, on November 7, 2020—the date that President Trump was
projected to have lost the Presidential Election—Rhodes wrote to the same encrypted group chat:
“W]e must now do what the people of Serbia did when Milosevic stole their election. - Refuse
to accept it and march en-mass on the nation’s Capitol.” He then sent a link to a Bitchute.com
video titled “STEP BY STEP PROCEDURE, HOW WE WON WHEN MILOSEVIC STOLE
OUR ELECTIONS.” Rhodes continued:

I am in direct context with the Serbian author of that video. His videos are excellent.
Here is his written advice to us:

“- Peaceful protests, good, well played round 1

- A complete civil disobedience, they are not your representatives. They are
FOREIGN puppet government.

- Connect with the local police and start organize by neighborhoods to stay safe (we
didn’t need this step)

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- We swarmed the streets and started confronting the opponents. I know, not nice,
but it must be done if the institutions stop to exist

- Millions gathered in our capital. There were no barricades strong enough to stop
them, nor the police determined enough to stop them

- Police and Military aligned with the people after few hours of fist-fight

- We stormed the Parliament

- And burned down fake state Television!

WE WON!”

12. On November 9, 2020, Rhodes held a private GoToMeeting—an online meeting
site that allows users to host conference calls and video conferences via the Internet—limited to
Oath Keepers members, titled, “Oath Keepers National Call - Members Only.” SoRelle attended
and participated in the meeting. During the meeting, Rhodes outlined a plan to stop the lawful
transfer of presidential power, including preparations for the use of force, and urged those listening
to participate. As one participant described the meeting, “The more I listened to the call, it sounded
like we were going to war against the United States government... . It sounded like we were
going to war with—we were going to overthrow the United States government and start shooting
everybody.”

13. Some Oath Keepers left or distanced themselves from the group as a result of such
threats. In contrast, SoRelle continued to collaborate with Rhodes and other members and affiliates
of the Oath Keepers on ways to oppose the results of the election. One project that SoRelle worked
on with Rhodes was a series of two letters to President Trump, which Rhodes tried to have
personally delivered to the president, but which he ultimately published to the Oath Keepers’
website on December 14 and December 23, 2020. In these letters, which were signed by both

Rhodes and SoRelle, they urged President Trump, “Act Now! Do Not Wait for Jan 6!” In the

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second letter, Rhodes and SoRelle warned the president, “If you fail to do your duty, you will leave
We the People no choice but to walk in the Founders footsteps ...., by declaring the regime
illegitimate, incapable of representing us, destructive of the just ends of government—to secure
our liberty—and to be a mere puppet of a deadly foreign enemy. And, like the Founding
generation, we will take to arms in defense of our God given liberty, we will declare our
independence from that puppet regime, and we will fight for our liberty.”

14. On December 29, 2020, Rhodes directly messaged SoRelle, “This will be DC rally
number three. Getting kinda old. They don’t give a shit how many show up and wave a sign, pray,
or yell. They won’t fear us till we come with rifles in hand.”

15. On December 31, 2020, Rhodes messaged those on the “Leadership intel sharing
secured” group, including SoRelle, “On the 6", they are going to put the final nail in the coffin of
this Republic, unless we fight our way out. With Trump (preferably) or without him, we have no
choice.”

16. On January 3, 2020, SoRelle left Texas with Rhodes and began driving towards
Washington, D.C., to be part of the Oath Keepers’ January 6 operation. On the way, Rhodes
purchased or picked up more than $20,000’s worth of firearms-related equipment.

17. On the morning of January 6, 2021, SoRelle traveled with Rhodes to the area near
the Capitol.

18. When the riot at the Capitol began to unfold, SoRelle messaged the “Leadership intel
sharing secured” chat, at about 1:31 p.m., “We are acting like the founding fathers—can’t stand
down. Per Stewart, and I concur.” Rhodes also directed his Oath Keeper followers to the Capitol.

Ultimately, at least 20 of Rhodes’ followers breached the Capitol.

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19. Atabout 2:12 p.m., SoRelle accompanied Rhodes and another Oath Keeper affiliate
onto the Capitol complex and into the restricted areas of the Capitol grounds. (Image 1.) Video
footage captured the group passing the barriers that law enforcement had initially set up to protect

the Capitol.

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Image 1: SoRelle entering the restricted area on the east side of the Capitol.

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20. As she entered the restricted area of the Capitol grounds, SoRelle live-streamed a
video of herself to Facebook, in which she told her followers:

I want to show y’all something, probably one of the coolest damn things I’ve ever
seen in my entire life. I’m telling you right now, government, people are pissed, but
you guys need to watch. They broke the line, guys. People are going. This isn’t a
bad thing, and you can’t be scared. This is what you do. Otherwise you end up as
Communist little peasants, in little societies where you have no ability, no voice,
no vote. You're basically slaves. But this is what happens when the people are
pissed and when they rise up. So you know what, guys? It’s pretty amazing. You

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guys should enjoy it. They broke the barrier, they got up there, they may end up

inside before it’s all said and done, and that’s okay, too. That’s how you take your

government back. You literally take it back.

21. | SoRelle then joined Rhodes and the other Oath Keepers affiliate in moving around
the north side of the building, toward the upper west terrace of the Capitol. (Image 2.)
As they moved, SoRelle continuing to document the riot over a Facebook live-stream video. As
she moved around the building, SoRelle told those watching: “Over the top, they’ve occupied both

sides now. Oh no! Think we’re gonna hang ’til the 20th or what? Don’t know.” As she walked

closer to the building, SoRelle continued, “Here you go, just so you can see, they had barricades

up. Keeping us away from the building was the goal.”

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Image 2: SoRelle and Rhodes waliies along the north terrace of the Capitol, within the eaarinee area.

22. As SoRelle, Rhodes, and the other Oath Keeper affiliate stood on the upper west
terrace of the Capitol and watched rioters streaming into the building (Image 3), the other affiliate
stated, “They gotta be shitting their pants inside right now.” SoRelle laughed, and said, “Oh! It’s

hilarious!” Rhodes responded, “Amen. They need to shit their fucking pants.” SoRelle agreed:

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“They should be.” Rhodes then stated, “Sic semper tyrannis,” which means, “Thus unto tyrants,”

and is what John Wilkes Boothe shouted after he assassinated President Abraham Lincoln.

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Image 3: SoRelle, Rhodes, and a third Oath Keeper affiliate observe rioters breaking into the Capitol and
laugh about how terrified the people inside must be.

23. Although SoRelle did not personally enter the Capitol Building on January 6, she
understood the role those inside and outside the building, like herself, played in delaying the
certification proceeding that had been taking place inside the Capitol. SoRelle was aware of the

role that Vice President Michael R. Pence was meant to play in the certification of the Electoral

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College vote, and that he was present at the Capitol, presiding over the certification proceeding,
when the riot unfolded.
The Defendant’s Flight and Encouragement of Destruction of Evidence

24. On the evening of January 6, 2021, SoRelle joined Rhodes and other Oath Keepers
for a celebratory dinner. During the course of the dinner, someone received word that law
enforcement were either arresting or looking for those involved in the attack on the Capitol. Those
in the group, including Rhodes and SoRelle, hastily left the restaurant and returned to their hotel,
packed all of their belongings, and met at a nearby gas station.

25. At the gas station, Rhodes turned off his cell phone and gave it to SoRelle in case
law enforcement was tracking the device. He then rode with a different Oath Keeper affiliate, and
SoRelle departed in her own vehicle. SoRelle rendezvoused with Rhodes in Tennessee, and the
two continued driving towards Alabama, and ultimately back to Texas.

26. On the way, on January 8, 2020, Rhodes and SoRelle both sent messages from
SoRelle’s phone (since Rhodes’ phone was turned off, to avoid tracking by law enforcement),
encouraging Oath Keeper affiliates to delete any incriminating evidence of their involvement, or
their fellow Oath Keepers’ involvement, in the events of January 6.

27. SoRelle wrote to a Signal group chat called “DC Op: Jan 6 21,” “Please delete any
information you’ve posted regarding the DC op and your involvement. This thread will be deleted
when possible.” She continued, “Per SR — clean up all your chats.”

28. Another post from SoRelle directed, “YOU ALL NEED TO DELETE ANY OF
YOUR COMMENTS ABOUT WHO DID WHAT.” The message continued, “I can’t delete them

because this is a legacy Signal chat that doesn’t let me delete comments. Only the comment author

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can delete a comment. So GET BUSY. DELETE your self-incriminating comments or those that
can incriminate others.”

29. | Oath Keeper members and affiliates followed SoRelle’s and Rhodes’ orders and
deleted messages, photographs, and videos from their phones and other devices that contained
evidence of their participation and other Oath Keepers’ participation in the attack on the Capitol.

Elements of the Offenses

30. The parties agree that 18 USC § 1752(a)(1) requires the following elements:

a. The defendant entered or remained in a restricted building or grounds without
lawful authority to do so.

b. The defendant did so knowingly.

31. The parties agree that 18 USC § 1512(b)(2)(A) requires the following elements:

a. The defendant corruptly persuaded another person, or attempted to do so; and

b. The defendant acted knowingly; and

c. The defendant acted with the intent to cause or induce any person to withhold
testimony, a record, a document, or another object from an official proceeding.

32. The parties agree that 18 USC § 1512(b)(2)(B) requires the following elements:

a. The defendant corruptly persuaded another person, or attempted to do so; and

b. The defendant acted knowingly; and

c. The defendant acted with the intent to cause or induce any person to alter, destroy,
mutilate, or conceal an object with the intent to impair the object's integrity or
availability for use in an official proceeding.

Defendant’s Acknowledgments

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33. The defendant knowingly and voluntarily admits to all the elements as set forth
above. Specifically, the defendant admits that she knowingly entered a restricted building or
grounds when she, and fellow Oath Keepers, entered the restricted areas of the Capitol grounds
and joined the ongoing riot at U.S. Capitol on January 6, 2021. Additionally, the defendant
acknowledges that when she undertook these actions, she was aware the Vice President, a Secret
Service protectee, was temporarily visiting the U.S. Capitol. The defendant further admits that, on
or about January 8, 2021, she knowingly and corruptly persuaded or attempted to persuade other
members and affiliates of the Oath Keepers to (a) withhold testimony, records, documents, or other
objects from an official proceeding, that is, the Grand Jury investigation into the attack on the
United States Capitol on January 6, 2021, and/or to (b) alter, destroy, mutilate, or conceal objects
with the intent of impairing those objects’ integrity or availability for use in said official

proceeding.

Respectfully submitted,

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DEFENDANT’S ACKNOWLEDGMENT

I, Kellye SoRelle, have read this Statement of the Offense and have discussed it with my
attorney. I fully understand this Statement of the Offense. I agree and acknowledge by my
signature that this Statement of the Offense is true and accurate. I do this voluntarily and of my
own free will. No threats have been made to me nor am I under the influence of anything that could
impede my ability to understand this Statement of the Offense fully.

Date: 7/3/2024
Kellye Eis

Defendant

ATTORNEY’S ACKNOWLEDGMENT

Ihave read this Statement of the Offense and have reviewed it with my client fully. I concur
in my client’s desire to adopt this Statement of the Offense as true and accurate.

Date: o/s Lp 7 LA a
Horatio Aldredge
Attorney forBefendant

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